Case: 1:16-cv-00926 Document #: 1-1 Filed: 01/22/16 Page 1 of 4 Page|D #:5

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RCB/ip Attorney #80287 . gay

  

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CoUNTY DEPARTMENT, LAW l)Ivlsro

ADETOLA ocUNsEGUN, _
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caLENoas/anan F
vs. T I §“i E 99 3 00

Fremi§@s Liability
MENARD, lNC.,' a domestic corporation,

\/\/\./\/V\./W\_/\/
O
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Defendant.
CO`MPLAINT AT LAW

` NOW COMES the Plaintiff, ADETOLA OGUNSEGUN, by and through her attomeys,
LARRY L. FLEISCHER & ASSOCIATES, LTD., and complaining of the Defendant, MENARQ,

INC., a domestic corporation, alleges as follows:

l. That on September 10, 2014, the Plainti‘ff, ADETOLA OGUNSEGUN, was a customer
at the MENARD store located at 6301 Oakton in City of Morton Grove, County of Cook and State of

Illinois.

" 2. That at the aforesaid time and place, "the Defendant, MENARD, INC., was a domestic
corporation, doing business throughout the State of Illino_is, including Cook County.

3. That at all relevant times the Defendant, MENARD, INC., a domestic corporation, had

a duty to use reasonable care and caution in the operation, inspection and maintenance of its store in

the City of l\/iorton Grove, so that said store and its contents would not pose an unreasonable risk of

harm to customers lawfully on the premises, including the Plaintiff.

 

Page 8

Case: 1:16-cv-00926 Document #: 1-1 Filed: 01/22/16 Page 2 of 4 Page|D #:6

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_4.

That despite the foregoing duty, the Defendant, MENARD, INC., a domestic

corporation, was then and there guilty of one or more of the following errors and/or omissions:

a.

d,

Allowed boxes containing store merchandise to remain in an aisle where Plaintiff was
shopping, when the Defendant knew or in the exercise of reasonable care and caution
would have known that the same constituted an unreasonable risk of injury to customers
on the premises, including the Plaintiff;

Failed to keep said boxes containing store merchandise in a tidy and uncluttered manner
near where Plaintiff was shopping, when the Defendant knew or in the exercise of
reasonable care and caution would have known that the same constituted an
unreasonable risk of injury to customers on the premises, including the Plaintiff;

Failed to inspect the area where the boxes of store merchandise were, so as to timely
discover their unsafe condition and then repair the same, when the Defendant knew or
in the exercise of reasonable care and caution would have known that the same
constituted an unreasonable risk of injury to customers on the premises, including the
Plaintiff;

Failed to properly supervise and train store personnel in the proper method of stocking
and or handling boxes of store merchandise, when the Defendant knew or in the
exercise of reasonable care and caution would have known that the same constituted an
unreasonable risk of injury to customers on the premises, including the Plaintiff;

Failed to place any types of warning devises near the boxes of store merchandise, when
the Defendant knew or in the exercise of reasonable care and caution would have
known that the same constituted an unreasonable risk of injury to customers on the
premises, including the Plaintiff;

Failed to prevent persons from walking near the boxes of store merchandise, when the
Defendant knew or in the exercise of reasonable care and caution would have known '
that the same constituted an unreasonable risk of injury to customers on the premises,
including the Plaintiff; and

Failed to provide a safe pedestrian route near to where the Plaintiff was walking within
the store, when the Defendant knew or in the exercise of reasonable care and caution
would have known that the same constituted an unreasonable risk of injury to -_cust_orners
on the premises, including the Plaintiff.

That as a result of one or more of the foregoing acts and/or omissions of the Defendant,

MENARD, INC., a domestic corporation, the Plaintiff fell/tripped upon and over a box of store

merchandize that had been left in the aisle.

Page 9

Case: 1:16-cv-00926 Document #: 1-1 Filed: 01/22/16 Page 3 of 4 Page|D #:7

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6. That on Septernber 10, 2014, the Plaintiff, ADETOLA OGUNSEGUN, was injured. '

7. That said injuries were proximately caused by the aforesaid errors and/or omissions of
the Defendant, MENARD, INC. a domestic corporation

ll That as a proximate result of one or more of the aforesaid acts and/or omissions of the
Defendant, MEI\lARD, INC., a domestic corporation, the Plaintiff, ADETOLA OGUNSEGUN, then
and there was caused to incur legal obligation for medical, surgical and nursing care and has been
caused to suffer pain and disability, and has lost and will continue to lose, wages, salaries and income
which she would otherwise have obtained.

j WHEREFORE, the Plaintiff, ADETOLA OGUNSEGUN, demands judgment against the
Defendant, MENARD, INC., a domestic corporation, in an amount in excess of FIFTY THOUSAND
($50,000.00) DOLLARS plus costs.

Respectfully submitted,
LARRY L. FLEISCI-lER & ASS , TES, LTD.

By:
One of tiii: A‘Etorneys for Plaintiff

 

LARRY L. FLEISCHER & AssociArEs, LTD.
205 west Randeiph street - suite 2200 `
Chieege, miners 60606 - (312)641-7117

Attorney No: 80287

Page 10

Case: 1:16-cv-00926 Document #: 1-1 Filed: 01/22/16 Page 4 014 Page|D #:8

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RCB/ip Attorney #80287 File #14-168

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
' COUNTY DEPARTMENT, LAW DIVISION

ADETOLA OGUNSEGUN,
Plaintiff,
vs.

MENARD, INC., a domestic corporation,

V\/\/\/\_/\./\/\/\/
Z
O

Defendant.

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I, RICHARD 'C. BALIND, an attorney With the law offices of LARRY L. FLEISCHER &
“ ASSOCIATES, LTD., first being duly sworn, state as follows:
l. That upon review of the above-captioned matter, it has been determined that the total of

money damages sought does exceed $50,000.00.

Further, Aff`iant sayeth naught. j

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BEFORE ME`THls --12TH DAY

OF DECEMBER, W

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LARRY L. FLEISCHER & ASsociATEs, 1.'1‘§%_
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Attorney No. 80287
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Page 11

